

Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist. (2019 NY Slip Op 06347)





Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist.


2019 NY Slip Op 06347


Decided on August 22, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 22, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CARNI, LINDLEY, AND CURRAN, JJ.


727 CA 18-02015

[*1]SUZANNE P., ADMINISTRATRIX OF THE ESTATE OF MITCHELL P., DECEASED, PLAINTIFF-APPELLANT,
vJOINT BOARD OF DIRECTORS OF ERIE-WYOMING COUNTY SOIL CONSERVATION DISTRICT, ALSO KNOWN AS ERIE-WYOMING JOINT WATERSHED BOARD, ET AL., DEFENDANTS, AND COUNTY OF ERIE, DEFENDANT-RESPONDENT. (APPEAL NO. 5.) 






PAUL WILLIAM BELTZ, P.C., BUFFALO (WILLIAM A. QUINLAN OF COUNSEL), FOR PLAINTIFF-APPELLANT.
MICHAEL A. SIRAGUSA, COUNTY ATTORNEY, BUFFALO (JEREMY C. TOTH OF COUNSEL), FOR DEFENDANT-RESPONDENT.


	Appeal from an order of the Supreme Court, Erie County (Mark J. Grisanti, A.J.), entered October 10, 2018. The order granted the motion of defendant County of Erie for leave to reargue and, upon reargument, granted the motion of defendant County of Erie for summary judgment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist. ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Entered: August 22, 2019
Mark W. Bennett
Clerk of the Court








